      Case 3:23-cv-10385-TKW-ZCB         Document 163       Filed 12/03/24     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
et al.,

        Plaintiffs,

vs.                                                CASE NO.: 3:23-CV-10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

        Defendant.

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                                   MEDIATION REPORT


        The parties to the above cause submitted their issues to mediation on December 2, 2024.
After eight hours of mediation, the parties reached an impasse.


                                                   /s/ Jason O’Steen
                                                   JASON O’STEEN
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                                                   (850) 877-1028
                                                   Mediator


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been
served by electronic mail via the CM/ECF System to all counsel of record, on this 3rd day of
December, 2024.

                                                   /s/ Jason O’Steen
                                                   Attorney
